      Case: 3:14-cr-00096-WHR Doc #: 93 Filed: 06/23/15 Page: 1 of 3 PAGEID #: 432




                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA,
                                                               Case No. 3:14CR096(1)
           Plaintiff,
                                                               District Judge Walter H. Rice
              v.                                               Magistrate Judge Michael J. Newman

SHELLIE WOODS,

           Defendant.


                                 REPORT AND RECOMMENDATION1


           This case came on for hearing on Tuesday, June 23, 2015. The United States was

represented by Assistant United States Brent Tabacchi; Defendant was represented by Hal

Arenstein.         The case was referred to the undersigned under Fed. R. Crim. P. 59 for plea

proceedings. Defendant, through counsel, orally consented to proceed before the United States

Magistrate Judge for this hearing.

           The undersigned examined Defendant under oath as to his understanding of the Plea

Agreement and the effect of entering a plea pursuant to that Agreement. Having conducted that

colloquy, the Magistrate Judge is persuaded that Defendant understands the rights waived by

entering a guilty plea and is competent to do so. The Magistrate Judge also concludes that

execution of the Plea Agreement, which was acknowledged in open court, is Defendant’s

knowing, intelligent and voluntary act. It is therefore respectfully recommended that the Plea

Agreement be accepted.



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    Attached hereto is a NOTICE to the parties regarding objections to this Report and Recommendation.
   Case: 3:14-cr-00096-WHR Doc #: 93 Filed: 06/23/15 Page: 2 of 3 PAGEID #: 433




       The Magistrate Judge concludes that Defendant’s guilty plea to Counts One and Two of

the Second Superseding Indictment dated January 13, 2015 is knowing, intelligent and voluntary,

and that the Statement of Facts made a part of the Plea Agreement, whose truth Defendant

acknowledged, provides a sufficient factual basis for a guilty finding. It is therefore respectfully

recommended that Defendant’s guilty plea be accepted, and Defendant be found guilty as

charged in Counts One and Two of the Second Superseding Indictment.

       Anticipating the District Court’s adoption of this Report and Recommendation, the

Magistrate Judge referred Defendant for a pre-sentence investigation, and remanded him to the

custody of the United States Marshal.



June 23, 2015                                               s/Michael J. Newman
                                                          United States Magistrate Judge
   Case: 3:14-cr-00096-WHR Doc #: 93 Filed: 06/23/15 Page: 3 of 3 PAGEID #: 434




                           NOTICE REGARDING OBJECTIONS

       Pursuant to Fed. R. Crim. P. 59 (b)(2), any party may serve and file specific, written

objections to the proposed findings and recommendations within fourteen days after being served

with this Report and Recommendations. Pursuant to Fed. R. Civ. P. 6(e), this period is

automatically extended to seventeen days because this Report is being served by one of the

methods of service listed in Fed. R. Civ. P. 5(b)(2)(B)(C), or (D) and may be extended further by

the Court on timely motion for an extension. Such objections shall specify the portions of the

Report objected to and shall be accompanied by a memorandum of law in support of the

objections. If the Report and Recommendation are based in whole or in part upon matters

occurring of record at an oral hearing, the objecting party shall promptly arrange for the

transcription of the record, or such portions of it as all parties may agree upon or the Magistrate

Judge deems sufficient, unless the assigned District Judge otherwise directs. A party may

respond to another party=s objections within fourteen days after being served with a copy thereof.

Failure to make objections in accordance with this procedure may forfeit rights on appeal. See

United States v. Walters, 638 F. 2d 947 (6th Cir. 1981); Thomas v. Arn, 474 U.S. 140, 106 S. Ct.

466, 88 L. Ed. 2d 435 (1985).
